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                                                                          EXHIBIT
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             Use and Disposal of Polystyrene
             in California
             A Report to the California Legislature




                                                    December 2004




                         Zero Waste—You Make It Happen!
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                               S T A T E        O F     C A L I F O R N I A
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                                                   Governor


                                               Alan C. Lloyd, Ph.D.
                              Secretary, California Environmental Protection Agency

                                                         •

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                                                              amount of PS for packaging and food service for
 Acknowledgements                                             California is estimated at 166,135 tons.
 The California Integrated Waste Management Board             Due to changes in PS formulation and improved
 (CIWMB) and the Department of Conservation                   production processes, PS has achieved significant
 (DOC) contracted with NewPoint Group                         source reduction benefits. Unfortunately, industry
 Management Consultants to conduct a research                 officials claim there are limited opportunities for
 project that included the preparation of this report.        increased source reduction, especially in
                                                              transportation packaging and food service.
 The authors of this report, Jim Gibson and Wendy
                                                              However, the CIWMB believes replacing single-use
 Pratt of NewPoint Group Management Consultants,
                                                              food service PS, that cannot be effectively recycled,
 wish to thank staff from the CIWMB and the DOC
                                                              with compostable alternatives may provide
 for their assistance on this project. They especially
                                                              additional source reduction potential.
 thank Calvin Young from the CIWMB for his input
 and edits to the report.                                     The Plastic Loose Fill Council (PLFC) coordinates
                                                              reuse of PS loose fill, or “peanuts.” Reuse of PS in
 They also thank all of the many stakeholders that
                                                              California is estimated at between 20 and 30
 invested their time and energy providing valuable
                                                              percent, a total of 500 tons. (Source 14)
 information and comments to this report.
                                                              There are reportedly sufficient end markets
 Executive Summary                                            available for all the clean EPS collected. PS
                                                              recycling/reuse consists primarily of the reuse effort
 In 1999, California disposed of over 3.3 million tons        by the PLFC, some limited recycling of non-foam
 of plastic in landfills, and that amount may well be         PS products (such as CD cases, videocassettes, and
 increasing. (Source 25) That is roughly equivalent to        agricultural trays), and recycling of transportation
 the weight of the nearly 36 million Californians             packaging. There is no meaningful recycling of food
 (averaging 185 pounds) being buried in California            service PS. Recycling of transportation packaging is
 landfills every year. Plastics represent 8.9 percent         estimated at 12 percent nationally, with California
 (by weight) and perhaps twice as much (by volume)            recycling 19–23 percent (2,500 tons).
 of the material disposed of in California landfills.
                                                              In 1999, an estimated 300,000 tons of PS (0.8
 Polystyrene (PS) is estimated at 0.8 percent (by
                                                              percent of total waste) was landfilled, with a total
 weight) of the materials landfilled. However, due to
                                                              disposal cost of $30 million.
 its lightweight nature, its volume is much greater. In
 general, plastics rank behind paper as the second-           However, not all PS is disposed of legally. The
 largest category (by volume) of material being               primary environmental impact of PS relates to litter
 landfilled in California.                                    and improperly disposed PS. According to a
                                                              California Department of Transportation study
 The two main types of PS are “general-purpose”
                                                              during 1998–2000, PS represented 15 percent of the
 (also known as “crystal”) PS and “high-impact”
                                                              total volume of litter recovered from the storm
 (also known as “rubber-modified”) PS. When a
                                                              drains. Other significant items include: plastic
 blowing agent is added to general purpose PS, it is
                                                              moldable, (16 percent), plastic film (12 percent),
 referred to as “expandable (or “expanded”)
                                                              and paper (14 percent).
 polystyrene” (EPS). Approximately 57 percent of
 the PS consumed in the U.S. in 1999 was general-             The CIWMB does not believe that a separate PS
 purpose.                                                     initiative is warranted. However, in an effort to
                                                              minimize some of the side effects of PS, the
 The total California share of PS production and
                                                              CIWMB does recommend:
 sales in 2001 is estimated at 377,579 tons. Of this
 amount, approximately 77,006 tons were for                   1. Increasing litter education efforts through more
 packaging and 156,829 tons were for                             effective coordination between all State entities
 consumer/institutional applications. The total




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     that spend money on anti-litter education and/or          Commercial and institutional PS products (including
     cleanup.                                                  food service PS) represent 42 percent of PS
                                                               production. Unfortunately, food service PS presents
 2. That the State conduct a statewide litter study to         unique challenges in its management due in part to
    identify the types and respective amounts                  contamination from food residue. Because of these
    (volume and weight) of litter and to quantify the          challenges and economic factors, no meaningful
    environmental and societal impacts of litter.              recycling of food service PS occurs currently. Food
 3. That the Legislature consider making litter a              service PS, by its nature, has a useful life that can be
    civil offense, to facilitate issuing litter tickets.       measured in minutes or hours. Yet, it takes several
                                                               decades to hundreds of years to deteriorate in the
 4. That the State perform appropriate studies and             environment or landfill. Food service PS also
    testing (including demonstration projects) to              represents a significant challenge as litter. Not only
    determine the effectiveness of compostable and             does the food service PS break into smaller pieces
    biodegradable plastics as alternatives to                  that may be ingested by wildlife, but materials may
    nondegradable polystyrene.                                 also be contaminated with food that decays, creating
                                                               a health hazard.
 5. That the State continue to work with
    manufacturers and other stakeholders to                    PS that is illegally released through various means,
    promote additional manufacturer responsibility             including human behavior, as litter may also find its
    and product stewardship of polystyrene.                    way through the storm drain system and into the
                                                               marine environment. As an example, the Los
 Introduction                                                  Angeles Regional Water Quality Control Board
                                                               issued a trash total maximum daily load (TMDL)
 California is faced with the significant challenge of         order for the Los Angeles River requiring zero
 safely and effectively managing the solid waste               measurable trash in the storm drain system within 10
 generated by nearly 36 million people in one of the           years. The County of Los Angeles and the cities
 largest economies in the world. Plastics are a major          affected by the TMDL estimate having to spend
 part of the California economy. In 2001, the                  $373 million or more, over a 10-year period, to
 California plastics industry employed more workers            reduce the amount of trash in the storm drains in an
 (152,335) than any other state and was ranked                 effort to partially comply with the order. (Comment:
 second in the nation in the value of shipments                3)
 ($27.8 billion). California also leads the nation in
 the number of people employed and the value of                An estimated 0.8 percent (by weight) of the material
 polystyrene products produced. (Source: 1)                    disposed of in California’s landfills is PS. However,
 Ironically, one of the most difficult materials in the        because of its light weight, the volume of PS
 state to manage is plastic, especially certain types of       disposed of in landfills is much higher than the
 PS.                                                           weight amount would tend to indicate. For example,
                                                               weight/volume estimates range from 9.6 pounds per
 Expanded polystyrene (EPS) transportation                     cubic yard for expanded polystyrene (EPS)
 packaging represents approximately 3 percent of PS            packaging to 22.2 pounds per cubic yard for other
 produced nationally and it can be, and to some                forms of PS. This compares to 100 pounds per cubic
 degree is, recycled. EPS transportation packaging is          yard for cardboard and 2,160 pounds per cubic yard
 currently being recycled at 13.1 percent nationally           for broken glass. (Source: 4) However, because of
 and an estimated 19 percent in California. (Source:           the minimal amount of PS disposed of, additional
 2, p. 3) That is much better than the 6 percent               management efforts may have only a minimal
 national recycling rate for all plastics. However,            impact on the available space at California’s
 additional opportunities exist to work with the EPS           landfills.
 transportation packaging industry to voluntarily
 increase recycling to a much higher level.




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 Legislative Requirement                                      [IWMA]). The IWMA requires the CIWMB and
                                                              local agencies to promote the following priorities in
 In September 2001, Governor Gray Davis signed                managing solid waste: (1) source reduction, (2)
 into law a bill requiring the CIWMB to study the             recycling and composting, and (3) environmentally
 use and disposal of PS in California (SB 1127,               safe transformation and environmentally safe
 Karnette, Chapter 406, Statutes of 2001—referred to          disposal.
 as “SB 1127” in this document, unless specific
 Public Resources Code [PRC] sections are cited).             Approaches to Managing
 This report, required by the legislation to be               Plastics
 submitted to the Legislature, presents findings and
 recommendations from the study.                              While the direction of the Legislature was to study
                                                              PS, the CIWMB would be remiss if it did not also
 SB 1127 required that the report must:
                                                              provide the larger context of plastics in general.
 1. Analyze how consumers are using PS before it              CIWMB believes that California should develop a
    enters the waste stream, including, but not               comprehensive approach to managing all plastics,
    limited to, food service and transport packaging.         not just PS. Development of this comprehensive and
    The report must cover the amount of PS being              cohesive solution should be a collaborative process
    landfilled annually in the state, the amount              of all stakeholders, led by the State. However, it
    being reused and recycled, and the related                may be more practical to collaborate with a segment
    environmental and public health implications, if          of the plastics industry as a pilot program and then
    any.                                                      modify the process to be more comprehensive.
 2. Recommend methods for source reducing,                    This effort may contain elements found in
    reusing, and recycling, and for diverting PS              approaches used in other countries, such as
    from the state’s landfills.                               Australia, Canada, the European Union, previously
                                                              proposed California legislation, and a new plastics
 3. Address the cost of disposing of PS in volume             industry-initiated coalition.
    and weight terms.
                                                              However, it should contain elements in at least the
 4. Examine and identify current and potential                following four areas:
    markets for recycled PS products.
                                                                  1. Product stewardship and financial
 Concurrent with the legislative process for SB 1127,                responsibility.
 the CIWMB and DOC initiated a plastics white
 paper project to define current California plastics              2. Collection and market development.
 issues and provide a menu of policy options. The
                                                                  3. Public information, public relations, and
 CIWMB and DOC were interested in (1) increasing
                                                                     education.
 the plastics recycling rate, (2) increasing the use of
 recycled plastics, and (3) promoting plastics                    4. Research and development of technologies.
 resource conservation. Information on plastics,
 including PS, was obtained from a variety of                 These activities should use a shared-responsibility
 sources and a wide range of stakeholders (including          approach and be directed toward a “zero-waste”
 the plastics industry, environmental community,              goal, with interim objectives for making progress
 local and State government, waste haulers,                   toward that goal.
 processors, and others). Stakeholders have reviewed
                                                              Should Certain Plastic Products or
 both the plastics white paper and this PS report.
                                                              Packaging Be Banned?
 The information in this report also considers other          Bans on the sale of plastic products are sometimes
 statutory requirements, including the California             proposed as a means to solve plastic issues. Two
 Integrated Waste Management Act (AB 939, Sher,               potential plastic bans are most often mentioned:
 Chapter 1095, Statutes of 1989 as amended                    PVC containers, which are a contaminant in PET



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 recycling, and PS food service containers, which are        industry should consider these systems. Two
 not currently recycled due to economics and food            examples of potential voluntary deposits are the
 contamination. Food containers are a major                  Alberta Plastic Milk Jug Recycling Program
 component of litter in storm drains.                        (www.plasticsrecycling.ab.ca) and deposits on car
                                                             batteries to encourage returns to the retailer.
 While bans may help solve immediate problems,
 they are generally not an effective long-term               Industry groups may also choose to self-fund
 solution. Implementing a processing fee that covers         initiatives for their products and packaging, such as
 the extra costs of recycling PS products and                the PLFC’s recycling program for loose-fill
 containers that are not effectively recycled might be       packaging “peanuts.” However, these programs all
 more effective than banning the materials.                  provide funding for fairly specific products and
                                                             packaging.
 Encouraging and promoting alternatives could be
 more effective than bans in solving problems posed          For more generalized industry support of plastics
 by plastic materials. These alternatives could              recycling and resource conservation, one alternative
 include biodegradable food service containers—              would be to establish a payment based on sales of
 used in conjunction with food composting—and                plastic packaging, products, and resin in California.
 increasing litter reduction efforts. Bans are narrow        Exemptions could be allowed for packaging and
 in scope, addressing a very specific problem with a         products with a certain level of postconsumer
 very specific solution. This narrow approach is an          material and for postconsumer resin.
 ineffective means of addressing a material with the
 global applications and ramifications of plastics.          The CIWMB-led collaborative process could
 While bans have, in some cases, been effective in           develop specific criteria for uses of the funds
 bringing about change, policy makers should use             generated through one of the above mechanisms.
 them only as a last resort.                                 Companies could choose to contribute to the fund
                                                             voluntarily, or the fee could be mandatory. This type
 Should Plastic Manufacturers Be Assessed                    of fee would be much simpler to implement than an
 Additional Plastic Payments?                                advance disposal fee on individual products or
 Some members of the plastics industry have already          packages sold in the state.
 made significant contributions to plastics recycling
 in California. However, industry could provide              Plastics White Paper
 increased funding support, especially as part of a          Most would agree that while there are many
 broad collaborative initiative. Such an effort is           advantages to the use of PS, there are also some
 likely to be more successful than the independent           drawbacks. While there can be some improvements
 and more discrete industry efforts of the past.             in the effective management of PS in California,
                                                             what is needed is a comprehensive approach to
 Industry could expand its support of plastics               managing all plastics, not just PS.
 initiatives in a number of ways. These could include
 funding specific earmarked programs or supporting           Plastics are the fastest-growing segment of the
 mandatory fees or deposits. Another option would            waste stream, often replacing other materials.
 be voluntary deposit systems paid into a plastics           Plastics represent an estimated 8.9 percent (by
 fund based on sales in California, with the payment         weight) of materials disposed of in landfills and
 amount to be determined. Mandatory fees may be              perhaps twice that amount by volume. That ranks
 unpopular among industry groups and complicated             plastics as the second largest category of material
 to implement for both government and industry.              (by volume) being landfilled, behind paper. Plastics
 Mandatory deposits could be complicated if they are         recycling is stalled at approximately 5 percent,
 not blended into the existing California Beverage           much lower than the recycling rate for many other
 Container Recycling and Litter Reduction Bill               materials. Most of the current plastics recycling is
 (“Bottle Bill”) system, currently administered by           from beverage containers.
 DOC. A voluntary deposit system may be                      With some exceptions, the plastics industry is not
 appropriate for some products or packages, and              adequately addressing plastics shortcomings on its



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 own. Currently, there is no comprehensive policy to         •   The Regulatory Safety Net or National
 effectively manage plastics and plastics waste in               Environment Protection Measure (NEPM) is
 California. The two existing CIWMB plastics                     designed to support the NPC and, in an effort to
 recycling programs combined (pertaining to                      ensure consistency, include those who did not
 regulated plastic trash bags and non-exempt rigid               sign the Covenant. The NEPM includes “take
 plastic packaging containers) address only a small              back” requirements with the focus on
 percentage of the materials disposed of in landfills.           “brandowners” (such as large grocery chains).
 Additionally, the Beverage Container Recycling                  Brandowners’ participation is necessary due to
 Program at DOC targets various beverage                         their position as key decision-makers and their
 containers, including plastic, sold in the state.               ability to influence the supply chain as
                                                                 customers of packaging manufacturers.
 The Board, in partnership with DOC, recognized the
 need to address the above issues and contracted with        The NPC includes action plans for each participant
 NewPoint Group, Inc. (NPG). NPG assisted the                that set forth specific measures and activities.
 Board, DOC, and stakeholders in identifying and             Associations may prepare plans for an industry
 analyzing the manufacturing and use cycle of                group or local governments. There are also
 plastics and in creating and developing innovative          provisions for funding the operation.
 solutions to (1) conserve resources, (2) increase the
 plastics recycling rate, and (3) increase the use of        While the NPC is still relatively new, early
 recycled plastics. A Plastics White Paper (PWP)             indications are encouraging. It is favorably received
 was developed and accepted by the CIWMB at its              by the packaging industry because it allows them to
 June 2003 meeting. (Source: 5) The PWP presented            develop their own action plans and method of
 a solid background for understanding the many               compliance. It also avoids potentially more onerous
 issues related to plastics. The PWP also presented          laws and regulations. It is also supported by most of
 numerous options for policymakers to consider to            the environmental community and government
 more effectively manage plastics in California.             sector.

 National Packaging Covenant                                 Rates and Dates
 An approach used to reduce packaging waste in               Another approach was proposed in SB 1069
 Australia and New Zealand is the National                   (Chesbro, 2001-02 Legislative Session). If passed,
 Packaging Covenant (NPC). Initiated in 1999 by              the bill would have, among other things, imposed a
 the Australian and New Zealand Environment &                plastic pollution fee on manufacturers of containers
 Conservation Council, the NPC is a collaborative            for every plastic container of a resin type that does
 approach between state government, local                    not achieve a 50 percent recycling rate by a future
 government, and the entire packaging supply chain           date. The fee would not have applied to beverage
 (and relevant industry associations). The NPC is a          containers as defined by the Bottle Bill.
 voluntary, self-regulatory approach to provide              The fee would have been the difference between the
 improved management of used packaging based on              average cost of recycling and the average scrap
 the principles of product stewardship and shared            value of each resin type. The monies would have
 responsibility.                                             been used to promote the recycling of plastic
 The NPC system has two main components:                     containers, including payments to recyclers and
                                                             local governments to offset the cost of recycling
 •   The Covenant serves as a framework or                   plastic containers.
     umbrella document. As the primary document,
     it sets broad parameters, covers the entire             If the 50 percent recycling rate goal were not met,
     packaging supply chain, is self-regulatory, not         the proposed law would have imposed an economic
     prescriptive (does not mandate how companies            transfer from manufacturers to recyclers to reduce
     comply), and has a limited lifespan (five years).       the cost of recycling. That would have decreased the
                                                             cost of recycled plastic and, presumably, increased
                                                             its use.




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Proponents of this “rates and dates” approach claim           It also includes, but is not limited to, maximizing
it is needed to motivate responsible parties and              recycling and ensuring that products are designed
would allow flexibility in how to achieve the                 for reuse or repair or are recycled back into the
recycling goals. Opponents argue that it sets                 environment. Zero Waste involves utilizing the most
arbitrary and political goals with little, if any,            effective industry processing or manufacturing
economic or environmental rationale and without               practices to efficiently conserve the use of raw
considering the numerous technical and logistical             materials, including front-end design for efficiency,
issues.                                                       while educating consumers.
California Bag and Film Alliance                              It includes promoting technology to encourage
The California Bag and Film Alliance (CBFA) is a              source reduction on the front end and recycling and
coalition of stakeholders representing the national           other technologies on the back end, while
Film and Bag Federation (FBF), which is a business            harnessing the energy potential in “waste” by using
unit of the Society of the Plastics Industry (SPI), the       new and clean technology to convert materials
California Film Extruders and Converters                      directly into green fuel or gas for the production of
Association (CFECA), and other plastics interests.            electricity.
The CBFA represents approximately 80 percent of
the manufacturers supplying plastic film and bags to          Types and Amount Produced
California.
                                                              PS comes in many types and forms and is used in a
Most of the CBFA members acknowledge that
                                                              variety of applications. However, the two major
while their products serve a consumer need, their
                                                              types are “general-purpose” (also known as
products can also have unintended consequences
                                                              “crystal”) PS and “high-impact” (also known as
that should be addressed, including introduction into
                                                              “rubber-modified”) PS. When a blowing agent
the litter and marine debris stream. The Plastic Film
                                                              (usually pentane) is added to general purpose PS,
Industry Environmental Resolution (PIER) marks
                                                              the material is referred to as “expandable (or
the first substantive proposal to advance recycling,
                                                              “expanded”) polystyrene” (EPS). Approximately 57
biodegradability, and comprehensive management
                                                              percent of the PS consumed in the U.S. in 1999 was
of plastic discards from any segment of the
                                                              general-purpose. Table 1 summarizes various PS
California plastics industry. The PIER provides a
                                                              types and typical products. Examples of general-
framework for collaborative solutions that address
                                                              purpose PS include CD jewel cases, salad
the environmental impacts associated with plastic
                                                              “clamshells,” and cutlery. Examples of high-impact
products. Detailed action plans will be developed in
                                                              PS (HIPS) include horticultural trays, yogurt
a collaborative process.
                                                              containers, business machine housings, and office
Zero Waste                                                    supplies. Examples of EPS, sometimes incorrectly
In its 2001 Strategic Plan, the CIWMB determined              referred to as “Styrofoam®,” include beverage cups,
that it will “Promote a ‘zero-waste California’               packaging for electronics, and loose-fill “peanuts.”
where the public, industry, and government strive to
reduce, reuse, or recycle all municipal solid waste           PS’s two major types and four major production
materials back into nature or the marketplace in a            methods are reflected in Exhibit 1: extrusion,
manner that protects human health and the                     extrusion foam, injection molded, and expandable
environment and honors the principles of                      bead. Extrusion PS includes agricultural trays,
California’s Integrated Waste Management Act.”                clamshells, meat trays, dairy containers, and
The Zero Waste philosophy focuses on the most                 decorative panels. Molded PS products include
efficient use of natural resources in order to                products such as appliance housings, CD jewel
maximize the reduction of waste and protect the               cases, tumblers, flatware, and some EPS packaging.
environment.                                                  Expanded PS includes cups, shape-molded
                                                              packaging, and loose-fill packaging peanuts.




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 Exhibit 1. Polystyrene Types and Production
                                                            Exhibit 2 illustrates the percent of PS used in each
 Methods                                                    of six major markets. Consumer and institutional
                                                            products, including PS food service, is the largest
                                                            category, with 41 percent of the total. Packaging is
                                                            second, with 19 percent of the total use. (Source: 6,
                                                            p. 73) PS sales in the US increased fairly steadily
                                                            from 1991 to 1999. Sales peaked in 1999 and have
                                                            declined since then, as shown in Exhibit 3. (Source:
                                    Types                   8, p. 59)
                                                            California production figures for PS must be
                                                            estimated from national figures, since no data
                                                            collected specifically for states is available. Table 2
                                                            illustrates the estimated California share of PS sales
                                                            calculated based on population, according to U.S.
                                                            Census data. The total California share of PS
                                                            production and sales are estimated at 377,579 tons.
            Production_
             Methods




                                     Exhibit 2. Major Markets for Polystyrene




                                                                               41% Consumer and Institutional
                              Furniture 2%



                  Electrical/Electronic 7%
                                                       Markets


              Building and Construction 12%
                                                                               19% Packaging



                                                                               19% Other




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Table 1: Polystyrene Types and Typical Products
          Polystyrene Type                       Description                          Typical Products
 Crystal (rigid)                     Transparent, can be injection             Audio equipment, dust covers,
                                     molded or extruded, rigid, good           clear audiotape cassette, and
                                     clarity and stiffness.                    CD jewel cases; office
                                                                               supplies, computer disk reels,
                                                                               tumblers, flatware,
                                                                               housewares, display cases,
                                                                               petri dishes, pipettes, bottles.
 Impact (rubberized)                 Opaque, higher strength, less clarity     Electronic appliance cabinets,
                                     and stiffness than crystal PS             business machine housings,
                                                                               video cassettes, small
                                                                               appliances, smoke detectors,
                                                                               furniture, refrigerator door
                                                                               liners, luggage, horticulture
                                                                               trays, and dairy and yogurt
                                                                               containers.
 Non-foamed PS sheet                 Extruded or oriented, melted plastic      Glazing, decorative panels,
                                     is forced through a flat-faced die,       cookie trays, document wrap,
                                     extruded sheet is then                    blister pack, salad containers,
                                     thermoformed. Can use impact PS           lids, plates, and bowls.
                                     or crystal PS (for clear).
 Foamed PS sheet                     Extruded, thermoformed, made by           Egg cartons, meat and poultry
                                     extruding crystal PS with a foaming       trays, food service trays, fast
                                     agent (usually pentane), material is      food packaging, insulation,
                                     extruded through an annular die           protective covers for glass
                                     and foamed as the material exits          bottles, plates, hinged
                                     the die, sheet thickness and density      containers, cups.
                                     is varied to meet end-use
                                     requirements, has excellent thermal
                                     insulation qualities.
 Expanded PS (EPS)                   Made from PS resin granules               Insulation board, molds for
                                     impregnated with a blowing agent          metal casting, flotation
                                     (typically pentane). Expanding            devices, packaging (molded
                                     beads fuse together to form the           shapes, peanuts), cups, and
                                     finished product, which is white, and     containers.
                                     90 to 95 percent air (99.6 percent
                                     for loose fill). Small beads are used
                                     for cups and containers, medium
                                     beads for shape-molded packaging,
                                     and large beads for the expanded
                                     loose-fill packaging (peanuts). It
                                     insulates, is lightweight, and resists
                                     moisture. Loose-fill peanuts sold in
                                     California that contain recycled
                                     material are often colored green.

Applying the market share information to the               According to the Alliance of Foam Packaging
California estimate, 77,006 tons is packaging, and         Recyclers Association, 16 manufacturers of EPS
156,829 tons are consumer/institutional                    foam packaging are in California operating at 22
applications. The packaging and food service PS for        locations. These facilities use an estimated 11,000 to
California was an estimated 166,135 tons in 2001.          13,000 tons of resin per year, and employ more than



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1,000 workers. The total number of firms in                   has a different shape and can only be used in limited
California manufacturing all types of PS is about             quantities.
125. These firms employ more than 11,600 people,
although some may be involved with other resins as            This material serves primarily as “dead filler”
well.                                                         material because it lacks a blowing agent to make it
                                                              into foam. Due to design restrictions, molded EPS—
                                                              especially thin material—can tolerate 5 to 10
Markets for Recycled                                          percent recycled EPS without a loss in quality
Polystyrene                                                   characteristics. Less demanding applications, such
                                                              as EPS block manufacturing, can tolerate higher
Several markets are available for EPS in both                 levels. (Source: 12, p. 3)
closed- and open-loop recycling. Sufficient end
markets are available for all the clean EPS collected.        Another primary market for recycled EPS molded
Almost half of the EPS packaging recycled—both                packaging is the production of loose-fill packaging.
molded and loose-fill—is remanufactured back into             Loose fill packaging manufacturers are active in
EPS packaging.                                                EPS collection programs. Loose fill typically ranges

Other applications for EPS recycling include
building applications such as siding and deck board,          Table 2: Estimated California Share of PS
ceiling texture, molding, electronic products, auto           Production
products, agricultural products, office supplies, egg
                                                                           Market                    Tons
cartons, and beanbag filler. Markets for non-foam
PS include coat hangers, picture frames, waste                 Packaging                            77,006
baskets, videocassettes, flowerpots, and nursery
                                                               Building and Construction            36,249
trays.
                                                               Electrical and Electronics           33,376
Companies that produce non-foam rigid PS products              Furniture                             5,885
consume about 25 percent of the EPS packaging
                                                               Consumer and Institutional          156,829
recycled. EPS molders consume about 50 percent,
and loose fill manufacturers purchase the remaining            Other                                64,234
25 percent. The amount of material currently                   Total                               377,579
available limits the recycled-content level in molded
EPS to about 2 percent post consumer material.
(Source: 10, p. 4)                                            from 25 percent to 100 percent recycled content
                                                              (depending on producer), although the content is not
Recycled-content levels in EPS molded packaging
                                                              100 percent postconsumer.
can be as high as 25 percent, but they are typically
much lower. (Source: 10, p. 3) These levels could             More than 65 percent of the EPS one California
increase in the future. One manufacturer of EPS               manufacturer (FP International) uses is
recycling equipment recently obtained acceptable              postconsumer. If loose fill continues to be reused in
ASTM standards with EPS made with 20 percent                  the take-back program, material could potentially be
and 40 percent regrind (recycled content). (Source:           diverted from the landfill for many cycles of use.
11, p. 3) Applications with higher cushioning
requirements may need to use a lower recycled-                The building and construction industry, including
content level.                                                several companies located in California, provides a
                                                              number of markets for PS. Rastra Building Systems
Molders typically incorporate recycled content into           produces a concrete form made of 85 percent
their products by blending in used expanded beads             recycled PS. The material is produced at two
from products they take in and grind down to bead             locations in California that have a combined
levels. Because the recycled EPS is not reblown, it           capacity of 156 tons per year.




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RING Industrial Group, an Oakland, Tennessee,                  reduction is the highest priority in managing solid
company, uses an EPS bead for an aggregate                     waste.
substitute in a variety of drainage applications,
including septic tank drain fields. This business,             Depending on the application, PS can be as much as
and its sister company Rapac, Inc., set up densifiers          95–99 percent air, representing a significant
at qualifying locations across the United States,              opportunity for source reduction. Additionally, the
including California. These companies collect                  materials replaced by PS are often heavier, further
approximately 5,000 tons of modified or fire                   demonstrating the source reduction benefits of PS.
retardant EPS each year, including approximately               In its 1999 report, Waste Management and
500 tons from California. (Source: 13)                         Reduction Trends in the Polystyrene Industry, 1974-
Timbron, a Stockton based company, densifies EPS               1997, Franklin Associates quantified many aspects
to produce interior moldings and other similar                 of PS, including the impact of using resins more
products that can be sawed and nailed like wood.               efficiently and substituting PS for other packaging
Timbron products are sold at Home Depot stores.                materials. In its 1996 report, prepared for the
EPS constitutes 75 percent of the company’s                    Polystyrene Packaging Council—a business unit of
finished products, with demand at more than 18                 the American Plastics Council—Franklin Associates
million pounds annually.                                       surveyed companies on their use of PS from 1974-
                                                               1994. Franklin Associates found that during that
Timbron provides large suppliers of recycled EPS               period, source reduction increased 204,000 tons
with a $60,000 densifier, as well as support for labor         through more efficient use of resins and by reducing
in collecting and densifying the material. Suppliers           the amount of resin used. This source reduction
include HP, Epson, Sony, Panasonic, Marko Foam                 saved an estimated 17.8 trillion British thermal units
Products, and Tatung America. Timbron uses both                (Btu) of energy over the life cycle of the products.
postconsumer and post-industrial EPS. The                      The life cycle includes the energy used to extract
company received a $1 million loan from the                    and process the raw material and to produce a pellet,
CIWMB’s Recycling Market Development Zone                      as well as transportation of the PS through various
loan program in 1999.                                          levels of manufacturing and distribution and to its
                                                               ultimate disposition (disposal, reuse, or recycling).
High impact PS (HIPS) is used in various electronic
devices, such as casings for televisions, computers,           Source reduction for PS can include down gauging
and telephones. It is also used for office products            and product redesign to use less material. It may
such as file trays and rulers, horticultural trays, and        also include reducing the use of nonrecyclable
many other products. While there are currently no              materials with recyclable materials and replacing
reliable figures for the potential market, the CPRA            disposable products with recyclable or compostable
operation reportedly does not have any problem                 products.
selling its production of approximately 20 tons per
day in the open market.                                        Source reduction opportunities for manufactures of
                                                               PS products include:
Source Reduction                                               1. Designing products and packaging in such a
                                                                  manner that less material is used in production
According to Public Resources Code section 40196,                 and/or transportation.
source reduction is any action that causes a net
reduction in the generation of solid waste. This can           2. Increasing the useful life of products (including
include reducing the use of nonrecyclable materials,              making products reusable).
replacing disposable materials and products with               3. Replacement of single-use products that cannot
reusable materials and products, reducing                         be recycled effectively with recyclable or
packaging, and increasing the efficiency of the use               compostable alternatives.
of plastic. The IWMA recognizes that source




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PS product manufacturers have argued that                      Table 3: National Postconsumer PS Types and
competitive business pressures to use materials                Recycling Rates
more efficiently have already driven most
                                                                   PS Type          Tons          Tons        Recycling
production methods to their optimum level.
                                                                                  Recycled      Recycled,       Rate
Accordingly, there are few opportunities to further                                (1999)        (2000)        (2000)
change product design or packaging to use less
material. Opportunities for reuse are discussed later            Bottles and         100           100           0.1%
in this report. Substituting a compostable material              Containers
for a nonrecyclable material would be most                       Protective        10,100         12,450         12.4%
effective in situations where the material was                   Packaging
included in a food-waste composting program.                     Food               3,250         2,250          0.2%
                                                                 Service
Biodegradable and Compostable Products                           Packaging
Biodegradable and compostable plastics are a                     Other             10,250         11,350         0.6%
technological innovation that may eventually serve               Applications
as a replacement for some PS food service
                                                                 Total             23,700         26,150         0.8%
products—cups, “clamshells,” plates, and cutlery.                Recycled
These items are often found in litter. Several
companies have developed or are developing
compostable and/or biodegradable alternatives,
while others are testing products.                            We must realize that using biodegradable food
                                                              service products alone will not eliminate litter
There are several products and processes that claim           problems. Some have argued that it may even
to be compostable or biodegradable. While these               increase litter if consumers believe that it no longer
materials may not be currently competitive in terms           poses an environmental problem.
of price or some quality characteristics, they appear
to hold significant promise.
                                                              Reuse
The value of biodegradable food service packaging
is two-fold, in that (1) institutional users can              Recycling and Reuse of Loose-Fill
incorporate the packaging into new small-scale food           Packaging and Other Recycling
composting collection systems without the labor and           A second major area of PS recycling and reuse is
expense of separating the container from the food             loose-fill packaging, or peanuts. In 1991, the
and (2) if the material is improperly disposed or             nation’s four major EPS loose-fill packaging
blows out of trash cans, the negative impact on               manufacturers established the PLFC. (Source: 14)
wildlife and storm drain systems is minimized when            Loose-fill packaging customers, such as mail order
the material biodegrades.                                     companies, established the reuse program in part
                                                              because of environmental concerns.
The CIWMB has formed a diverse working group of
stakeholders to identify the issues and responses that        Two companies, FP International and Storopack,
may be necessary for decision-makers to form                  Inc., operate plants that produce and recycle EPS
sound public policy based on facts and science. In            loose-fill packaging in California. FPI locations
addition to developing information to educate and             include Redwood City, and Commerce. Storopack
inform decision-makers, the group will identify               locations include Anaheim, Downey, and San Jose.
additional testing and pilot programs, recommend              Since its inception in 1991, industry has paid over
the use of existing biodegradable specifications              $650,000 in program infrastructure costs. These
(such as ASTM 6400), and take other actions that              costs include the toll-free 800 number, a Web site,
may be needed for decision-makers to determine                and staffing for administration and fulfillment
whether the State should support such efforts and             functions. (Source: 15, p. 6)
what form that support may take.                              The PLFC operates a national manufacturer-
                                                              sponsored postconsumer EPS packaging take-back



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program. The program provides a toll-free Peanut             In addition, a very small amount of PS food
Hotline* to provide callers with the nearest location        container recycling, as well as post-industrial PS
that accepts loose-fill packaging for reuse. The             scrap recycling, is collected from some institutional
hotline receives about 4,000 calls a month.                  locations.
In addition, more than 200 mail order and other              National PS recycling quantities are shown in
companies include information on the program with            Exhibit 4 and Table 3. (Source: 16[a], p. 1; 16[c],
their packaging. Many communities list information           p. 2)
on the program in recycling guides. More than 375
locations in California, and more than 1,500                 Table 4 illustrates the California share (by
nationwide, participate in the program. Take-back            population) of PS recycled. (Comment: 17) These
locations primarily include The UPS Store, Mail              estimates may be conservative, since California
Boxes Etc., and other similar packaging stores.              likely has a greater percentage of PS recycling due
                                                             to the larger number of EPS recycling facilities
The program has broad benefits to all participants.          statewide. Table 5 illustrates typical recycling costs
Collection sites provide improved customer service,          compared to recycled and virgin resin prices.
and businesses are able to reduce their purchase of          (Source: 18[a]; 18[b]) The margin between recycled
new packaging peanuts by 50 percent by reusing               resin prices and recycling costs is relatively small.
returned peanuts. Industry reuse of peanuts is               Table 4: California PS Production and Recycling
estimated at 30 percent of the 22,500 tons of loose-         Estimates, 2001
fill packaging manufactured each year. (Source:
16[b], p. ES-3) The reuse rate for EPS in California                            Calif. Recycling  Tons
                                                                                Tons     Rate    Recycled
is estimated at between 20 and 30 percent, a total of
                                                                              Produced
about 500 tons per year. This does not include
home and business reuse of loose-fill packaging               Bottles and       7,552        0.1%             6
from received packages.                                       Containers
                                                              Protective       11,327       12.4%        1,405
Recycling                                                     Packaging
                                                              Food             154,808       0.2%         310
While there is no meaningful food service recycling           Service
in the United States, several established recycling           Packaging
programs are available for non-food service PS.               Other            203,893       0.6%        1,223
Three primary categories of materials are recycled:           Applications
Transport packaging (EPS) is collected at                     Total            377,580       0.8%        2,944
manufacturing facilities across the United States,
including 12 in California (see Table 6).                    Table 5: Typical PS Recycling Costs and Resin
Loose-fill packaging is also collected at these              Prices
facilities as well as at packaging and mailbox                 Type of PS Recycling         Cost or Price per
locations across the country. This was discussed                                                 Pound
previously in the report under Reuse.
                                                              Food Service                      $.10 to .50
Other types of PS recycling make up about 43                  Recycling Cost
percent of the total PS recycled. Materials recycled          Recycled Resin Price              $.38 to .45
include insulation board, audio- and VHS cassettes,           Virgin Resin Price                $.40 to .70
CD jewel boxes, and nursery trays and containers.
Most of these materials are recycled through
commercial sources, not curbside programs.

*
    Peanut Hotline number: (800) 282-2214



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EPS Protective Packaging                                   Table 6: EPS Packaging Collection Sites in
                                                           California
Recycling
                                                                        Company                     Location
The Alliance of Foam Packaging Recyclers (AFPR)             1. Astrofoam Molding                   Camarillo
was established in 1991 to help support foam
                                                            2. Foam Fabricators                     Modesto
packaging recycling. This is a trade association of
more than 80 EPS protective-packaging                       3. Foam Fabricators                     Compton
manufacturers, equipment manufacturers, and resin           4. FP International                    Commerce
suppliers. More than 110 member plant locations             5. FP International                  Redwood City
nationwide—as well as many other non-member
                                                            6. Marko Foam Products, Inc.             Corona
locations (such as loose-fill packaging
manufacturers)—collect EPS. The AFPR also                   7. Storopack, Inc.                      Downey
accepts EPS packaging consumers send in the mail.           8. Storopack, Inc.                      Anaheim
                                                            9. Storopack, Inc.                      San Jose
Most EPS recycling in California (and nationwide)
occurs through EPS manufacturing facilities.                10. Styrotek, Inc.                       Delano
Twelve facilities in California accept EPS                  11. Topper Plastics                      Covina
packaging, as shown in Table 6. (Source: 19) These          12. Tuscarora Incorporated              Hayward
facilities take-back primarily molded EPS
packaging. One of these companies, FP
International, was the first company to recycle EPS        than the estimated California share. (Source: 21, p.
packaging, starting in 1989. In California since           4)
1990, FP International has recycled over 17 tons of
                                                     Most EPS packaging is returned from larger
molded EPS packaging from California, including
                                                     manufacturers and distribution centers such as
9.8 tons of postconsumer material. (Source: 20)
                                                     furniture and automobile manufacturers. For
The estimated recycling rate of these California     example, Ethan Allen is developing a collection
companies is 19 to 23 percent, significantly higher  system that could incorporate up to 300 stores and
than the national rate of 12 percent. California EPS 26 distribution centers (two in California). To make
manufacturers collected an estimated 2,500 tons of   the program economical, trucks backhaul EPS to the
postconsumer EPS in 2000, again significantly more   distribution centers, where the EPS is collected and
                                                     sent to a manufacturing facility. Transporting loose
                                                                                   EPS by truck is
  Exhibit 3. U.S. Polystyrene Production Over Time                                 economical within a
  (Tons Per Year)                                                                  100-mile radius. If a
                                                                                   backhaul vehicle is not
                                                                                   available, costs range
  3,500,000                                                                        from $85 to $450 per
                                                                                   shipment.
 3,000,000
                                                                                         Larger manufacturers
 2,500,000
                                                                                         can densify the PS
 2,000,000                                                                               before shipping it to
                                                                                         reduce costs. EPS
 1,500,000
                                                                                         collection programs
 1,000,000                                                                               from retailers are
                                                                                         limited. Retailers are
  500,000
                                                                                         resistant to
        0                                                                                establishing collection
      Year    90   91   92    93    94   95   96      97    98   99    00    01
                                                                                         systems, even with



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EPS industry support. The retailers do not want to                startup effort funded by the eight resin supplier
give up valuable warehouse or parking lot space.                  companies existing at the time in the U.S. (Source:
                                                                  22, comments pertaining to p. 9 of draft report) The
A few local governments provide drop-off programs                 five recycling facilities (and one affiliated facility)
for EPS. One EPS manufacturer, FP International,                  had a goal of a 25 percent recycling rate for food
supports drop-off facilities in Palo Alto and San                 service and packaging PS by 1995.
Mateo County. Contamination is more of an issue
with these programs than the manufacturer take-                   While technically feasible, food service PS is
back systems. Standards for EPS recycling are quite               difficult to recycle due to being contaminated with
high. Manufacturers require material that is not                  food. It also experiences transportation challenges
contaminated with substances or materials such as                 due to its light weight and other collection
adhesives, film plastic, cardboard, and dirt.                     difficulties. Industry found that there was reluctance
                                                                  among organizations, businesses, and consumers to
Materials that have been collected through a                      collect food service PS for recycling. As with other
curbside program, or even left in a drop-off bin or               resin types, it was difficult for the recycled resin to
outside in a storage yard, are usually too                        compete with virgin PS on both a cost and quality
contaminated for end users. This contamination                    basis. The corporations involved with the NPRC
limits the amount of EPS material that can be                     invested $85 million between 1989 and 1997 to
recycled. As with other plastics recycling, the key to            operate the recycling facilities, yet never achieved
successful EPS recycling is obtaining sufficient                  profitability. (Source: 23, p. 3)
quantities of clean material.
                                                                  There is virtually no recycling of food service PS in
National Polystyrene Recycling Company                            California. However, since 1990, Michigan-based
In the late 1980s, responding to growing consumer                 Dart Container has assisted companies wanting to
pressure and concern about landfill space in the                  recycle food service PS by leasing them a densifier
United States, the PS industry initiated                          for $295 per month and backhauling the material to
postconsumer recycling programs. In 1989, industry                a recycling facility. Although there were a limited
established the National Polystyrene Recycling                    number of California facilities participating, none
Company (NPRC) to recycle PS food service and                     are currently participating. According to Dart
molded packaging. The NPRC was a $16 million                      Container representatives, fewer customers were

 Exhibit 4. National EPS Postconsumer Recycling Rates and Quantities
 (Millions of Pounds)



                                                                                            25.2   26.2
        25

        20

        15

        10

        5

        0
             90     91    92     93     94     95     96          97    98     99     00    01     02

 Recycling
 Rates       1.7    5.9    9.5   10.5   10.2   12.7   10.4        7.4   9.5    9.6   12.1   13.1 13.0
 (Percent)




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willing to pay for the densifier or allocate the labor        percent of its material comes from the horticultural
necessary to sort and process the material.                   industry (trays and flats), (2) a significant
                                                              (undetermined) percentage comes from commercial
Canadian Polystyrene Recycling                                packaging and graphic industrial signs, and
Association
                                                              (3) about 5–10 percent comes from the government-
About the same time that NPRC was starting in the
                                                              run curbside collection program (referred to as the
United States, a similar effort was started in Canada
                                                              Blue Box), which serves approximately one million
for similar reasons. However, the Canadian
                                                              households.
Polystyrene Recycling Association (CPRA) is still
in operation, while the NPRC is not. In an August             CPRA pays materials recovery facilities
2003 interview, CPRA President John Roulston                  approximately $50 (U.S. dollars) per ton, F.O.B.
provided an insight into CPRA’s operation and why             CPRA’s facility. The manufacturing operation
it is successful.                                             provides approximately 96 percent of revenues, with
                                                              membership fees providing the remaining four
CPRA processes 20–25 tons of material per day,
                                                              percent. The membership fees roughly cover the
five to six days per week. It receives material
                                                              cost of the educational outreach program. Although
primarily from three areas: (1) approximately 20–25
                                                              CPRA’s operations were subsidized for the first



 Holiday EPS Collection Project
 The challenges of EPS collection from consumers after Christmas were demonstrated in Long Beach in
 December 2002. The goals for the one-day event were to increase awareness of plastics recycling and to
 offer a special event in which EPS material generated over the holidays could be collected and recycled.
 The Alliance of Foam Packaging Recyclers (AFPR), the City of Long Beach, the American Plastics
 Council (APC), FP International, Tuscarora Incorporated, and the CIWMB organized the program. AFPR
 has 10 years experience in facilitating EPS Christmas collection programs, and the City of Long Beach
 has a long-standing reputation of being successful and innovative with recycling.

 After considering a variety of alternatives, it was decided to conduct the EPS collection in conjunction with
 the city’s Christmas tree collection program. This provided an opportunity to leverage a long-standing
 post-holiday recycling activity (recycling Christmas trees) for consumers. Several different approaches
 were taken to advertise the program. Advertisements in the local paper for the Christmas tree collection
 were edited to include information about dropping off EPS at the same locations. Where existing ads could
 not be edited, new ads were placed next to the Christmas tree announcements. Approximately 72,000
 flyers were distributed to area school children to take to their parents and approximately 5,000 paycheck
 stuffers were provided to City of Long Beach employees. Press releases were issued to local TV, radio,
 and print media in addition to distribution of flyers at local Circuit City and Wal-Mart stores. Additionally,
 EPS recycling posters were distributed to schools and city government buildings. Organizers estimate that
 over 50,000 households were informed of the collection event.

 The EPS collection took place at 11 locations on Saturday, December 28, 2002. A total of approximately
 200 pounds of EPS was collected from all 11 locations. Costs for the project totaled over $22,000,
 including promotion/advertising, the trailer to haul the EPS, and other costs. This $110 per pound
 collection cost is in addition to an estimated 1,200 man hours contributed to the project.

 The results were consistent with most other efforts undertaken by the participants in large metropolitan
 areas. However, the holiday collection program has been successful in smaller cities when heavily
 promoted by local media and PS producers.
 (Source: 24)

 If this type of promotion is planned in the future, it would need to have significant consumer interest and
 cooperation in order to provide a better opportunity for success.




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decade, the association has not required a subsidy            CT is considered “cutting-edge” technology, and
for plant operations since 2000. It also received tax         there are only a few operating facilities in the world.
incentives from the province.                                 One such facility under construction is the Plastic
                                                              Energy, LLC facility located at the Kings County
CPRA produces a single product, a 100 percent                 Material Recovery Facility. This facility intends to
postconsumer black high-impact PS (HIPS).                     use post-recovered plastics (after recyclable
Approximately half the sales are to the horticultural         materials have been removed) to produce an ultra-
industry with the balance being used in non-critical          low sulfur diesel fuel. Waste Management, Inc. has
application, such as office products. Part of CPRA’s          already agreed to provide post-recovered plastics
success can be attributed to its management style.            and use the resulting diesel in its vehicle fleet. The
The corporate culture is more similar to that of a            CIWMB provided a $2 million low-interest
recycling entrepreneur rather than a large corporate          equipment loan through its Recycling Market
bureaucracy. Although governed by a Board of                  Development Zone loan program for the facility.
Directors, CPRA’s management team is given the
authority and responsibility to efficiently run the           Legislation (AB 2770, Matthews, Chapter 740,
operation.                                                    Statutes of 2002) allocated $1.5 million for the
                                                              CIWMB, in consultation with other federal and
Conversion Technology                                         State entities, to prepare a report to the Legislature
A new form of plastics recycling that holds                   on new and emerging conversion technologies (CT).
significant potential is “feedstock recycling” or             The report will include technologies that can
“chemical recycling.” This process is often referred          process plastics, including PS. This may provide an
to as “conversion technology.” Conversion                     alternative to the current practice of disposing of
technology (CT) refers to the processing of solid             plastics in landfills.
waste through non-combustive thermal, chemical, or
biological processes, other than composting, to
produce products such as electricity, fuels, or               Disposal
chemicals that meet quality standards in the
                                                              In 1999, an estimated 300,000 tons of PS was
marketplace. CT includes, but is not limited to,
                                                              landfilled in California. This amount is relatively
catalytic cracking, gasification, and pyrolysis.
                                                              small in terms of overall waste generation—only 0.8
Basically, plastic is processed through one of the            percent (by weight) of the total waste landfilled in
methods to produce a marketable product, such as              California. (Source: 25[a], p. 42; 25[b], p. 11;
fuel or gas. These products can be used to fuel               Comment: 25[c]) Even considering volume rather
vehicles or power generators as a form of “green,”            than weight, PS in the waste stream does not appear
or renewable, energy. Some methods can also                   to pose significant problems related to landfill
produce the original polymer or resin. While CT               capacity.
processes hold significant long-term potential, it is
                                                              PS disposal is no different than any other material.
unclear at this time how much PS can be recycled
                                                              If users do not recycle their PS, they dispose of it
using CT. It is also unclear whether projects can be
                                                              with other solid wastes. EPS is a very bulky
economically self-sufficient or what kind and/or
                                                              material, so a consumer who purchased a new
level of subsidy, if any, may be needed to support
                                                              appliance with EPS protective packaging could fill a
the activity. The price of oil is one of the primary
                                                              trash can with foam that week. Another potential PS
factors in considering the economic feasibility of the
                                                              disposal problem, discussed below, results when
conversion of plastics.
                                                              fast-food containers (cups, plates, clamshells) either
Generally, curbside programs are not able to                  spill over or blow out from trash receptacles.
generate adequate quantities or quality for use by            Because the EPS material is so light, it can blow
EPS manufacturers. Contamination issues with PS               away, becoming litter. This release into the
suggest that conversion of the PS into fuel or other          environment is one of the key concerns with food
products may be a potential alternative for diverting         service PS.
PS that is not readily recyclable.



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The cost of PS disposal can be calculated from                 loss, and extending freshness. (Source: 27, pp. 45–
typical disposal cost figures, since it will be                46)
collected with other solid waste from both
commercial and residential sources. Typical solid              An LCA comparing foam PS and bleached
waste collection costs in California are $100 per ton,         paperboard plates, cups, and hinged containers
including collection and an average tipping fee of             found that the PS containers require 30 percent less
$30 per ton. Total disposal costs for PS are                   energy than the paper containers. PS containers
estimated at about $30 million per year. (Source:              contributed 29 percent more to solid waste volume,
26) These costs are covered through solid waste fees           and they have 46 percent lower atmospheric
paid by residential and commercial users, like all             emissions. They contributed 42 percent less
other solid wastes. This does not take into                    waterborne wastes. (Source: 28, pp. 4-16, 4-27)
consideration the cost of collection and disposal of           Martin B. Hocking of the University of Victoria,
litter, which can result in a significantly higher cost        British Columbia, Department of Chemistry,
(see “Environmental and Health Impacts” section                observed similar findings. With respect to overall
below).                                                        energy costs during fabrication and use, reusable
Environmental and Health Impacts                               cups have energy consumption similar to single-use
The three key areas discussed in this section are life-        PS foam cups after 500 uses. (Source: 29, p. 889)
cycle impacts, health impacts, and environmental               Polystyrene cups were found to have the lowest
impacts. When compared to many alternatives, the               energy consumption. Hocking also notes that paper
lifecycle impacts of PS products that are properly             cups result in additional chemical use and emissions
disposed or recycled are positive and should be                as compared to PS cups. (Source: 30, pp. 28–29)
recognized. The health impacts of PS have been                 After an extensive environmental impact
controversial at times but appear to be minimal. The           assessment, the Danish Environmental Protection
primary environmental impact of PS relates to litter           Agency determined the burdens various packaging
and improperly disposed PS, particularly in the                materials place on the environment. Packaging
marine environment. This is the key issue of                   materials were reviewed in terms of their main
concern for PS, and it should be addressed in future           environmental pressure in life-cycle phases. The
industry deliberations and policy-making. Each of              agency ranked various materials from highest to
these areas is summarized briefly, below.                      least impact in various categories. In the categories
Life-Cycle Impacts                                             of energy consumption, greenhouse gas effect, and
Life-cycle impacts are often calculated by                     total environmental effect, EPS’s environmental
performing a life-cycle assessment/analysis (LCA).             impacts were the second highest, behind aluminum.
An LCA, sometimes referred to as “cradle to grave”             Materials studied include: aluminum, steel,
analysis, determines the environmental impacts of              polyvinyl chloride, EPS, PS, polyethylene
products, processes or services, through production,           terephthalate (PET), high-density polyethylene
usage, and final disposal. In general, PS protective           (HDPE), low-density polyethylene (LDPE),
packaging is light, strong, and effective in                   polypropylene, glass, and cardboard. (Source: 31)
protecting a wide range of products. It reduces                These life-cycle studies identify trade-offs of
breakage and the total weight of waste disposed as             various products systems but may not reflect the
compared to other alternatives. PS containers used             environmental and societal costs associated with
to ship produce and fish provide insulation, and they          illegal disposal (litter). In many cases, PS is superior
have demonstrated the ability to keep food fresher             in a variety of ways to several alternative products.
than typical wood or cardboard containers.                     Provided PS is used appropriately and reused,
One study found that EPS boxes were more                       recycled, or disposed of properly, it appears to have
effective than corrugated cardboard boxes for                  net positive impacts. High costs arise when PS
shipping fresh fruits and vegetables. The benefits of          products, like any other products, are disposed of
EPS included controlling acidity, maintaining solid            improperly: either through littering or by being
content, reducing pigment loss, reducing vitamin               accidentally knocked out of, or blown out of,



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overflowing trash receptacles. These problems are             Department of Transportation conducted a litter
discussed below.                                              management pilot study during 1998–2000. That
                                                              study found that PS foam (referred to in the study as
Health Impacts                                                “Styrofoam”) represented 15 percent of the total
The most commonly raised health concern related to            volume of litter recovered from storm drains. Other
PS is the migration of the monomer (styrene) used             significant items include moldable plastic (16
in the production of PS from PS food containers into          percent), plastic film (12 percent), and paper (14
food and drinks. There are many reports on the issue          percent). This does not include larger items that did
that support a study conducted by the Harvard                 not enter the storm drain system. (Source: 34, p. 12)
Center for Risk Analysis that found, “Styrene’s
carcinogenicity in humans cannot be ruled out at              PS is also a significant component in coastal litter
this time. However, styrene exposure levels among             collection programs and monitoring studies. In the
the general population and among most workers are             1999 U.S. Coastal Cleanup Day (a one-day
for the most part very low.” The study also                   nationwide cleanup event held each fall), foamed PS
concluded, “… that occupational exposure to                   pieces were the fourth-largest amount of all
styrene does have a subtle effect on color vision.”           materials collected. This represents more than 5
(Source: 32, p. 3) Additionally, the California Office        percent of the total number of pieces collected.
of Environmental Health Hazard Assessment does                (Source: 35) Only cigarette butts, plastic pieces, and
not include styrene on the list of chemicals known            plastic food bags and wrappers were collected in
to cause cancer or reproductive toxicity. (Source:            amounts higher than foam pieces. As shown in
33)                                                           Table 7, the nine categories of foam—including
                                                              fast-food containers, cups, egg cartons, and plates—
Environmental Impacts
                                                              accounted for 11 percent of the total number of
An often-mentioned environmental impact from PS
                                                              pieces collected, a total of 461,124 pieces of foam
results from the improper disposal (primarily
                                                              products. (Source: 36)
littering of PS containers.) The California
                                                              California accounted for 20 percent, by weight, of
Table 7: U.S. Coastal Cleanup Results—Foam,                   the total tonnage of material collected in the U.S.
1999                                                          Coastal Cleanup Day in 1999. A study conducted
    Foamed         Pieces      Foam        Total
                                                              from August to September 1998 quantified Orange
     Plastic                  Percent     Percent             County, California, beach debris from 43 random
                                                              sites from Seal Beach to San Clemente. (Source: 37)
 Buoys             13,609       3.0%        0.3%              The most abundant item was pre-production plastic
 Cups              84,652      18.4%        2.0%              pellets, followed by foamed plastic, shown in Table
 Egg cartons        3,503       0.8%        0.1%              8. (Source: 38, p. 116)
 Fast-food         26,880       5.8%        0.6%              Even studies measuring plastics found up to 5
 containers                                                   kilometers (km) off the Southern California coast
 Meat trays         8,688       1.9%        0.2%              have found high levels of small plastic pieces from
 Packaging         48,329      10.5%        1.2%              land-based sources, especially after storm events.
 materials                                                    (Source: 39, p. 1037) These small plastic pieces,
 Foamed PS        214,960      46.6%        5.1%              similar in size to plankton and more abundant than
 pieces                                                       plankton, represent a particular risk to filter feeders.
 Plates            17,997       3.9%        0.4%              PS in the marine environment results in significant
 Other foamed      42,506       9.2%        1.0%              problems for wildlife. Worldwide, people have
 plastic                                                      reported entanglement for at least 143 marine
 Total            461,124     100.0%       11.0%              species, including almost all of the world’s sea
 Foamed                                                       turtles. At least 162 marine species, including most
 Plastic                                                      sea birds, have been reported to have eaten plastics
 Total Pieces                4,191,169                        and other litter. (Source: 40)



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PS is of particular concern because it is light, it            trash was estimated to be white PS cups and
floats, and it is highly visible. In addition, PS foam         clamshell containers (followed by plastic water
breaks into small pieces, increasing the chance of             bottles and plastic bags). (Source: 43)
ingestion by wildlife and increasing the difficulty
and cost of collection. Ingestion of polystyrene               Litter is a pervasive problem involving diffuse
pieces, which look like food to many species, results          sources and human behavior with no easy solutions.
in reduced appetite, reduced nutrient adsorption, and          Specific materials such as EPS and PS do not cause
starvation for wildlife.                                       the litter problem; rather, it is caused by human
                                                               behavior. Whatever the cause, the high costs of litter
Marine debris also creates problems for fishermen              cleanup and collection are a significant economic
and recreational boaters, particularly when plastics           externality of plastics. This is especially true of
get into boat engines and cause damage.                        EPS, which has a tendency to break into smaller
                                                               pieces making cleanup more difficult. The problem
Scientists have identified new areas of concern                should be addressed in public policy and/or
related to floatable plastic litter. One problem is the        industry-led initiatives.
adsorption of toxic substances in sea water into
plastic resin pellets. Another is the transportation of        Litter is pervasive and different methods are used to
invasive species such as barnacles, mollusks, sea              collect it. It would be impractical to assign an
worms, and corals that travel on plastic litter “boats”        “average” cost to clean up litter in all areas.
to islands and other sensitive ecosystems. (Source:            However, there have been studies documenting the
41)                                                            cost to clean up litter in different areas and
                                                               situations.
Finally, PS litter has negative impacts on tourism in
California. The state has more than 1,000 miles of             A Seattle Times article estimated the cost of
coastline, so maintaining clean beaches and coastal            collecting litter at $1.11 per pound. (Source: 44) In
areas is important to its tourism industry.                    Orange County, the cost of collecting litter on 6
                                                               miles of beach for one summer is $350,000.
The nature of the EPS and PS use—for disposable
single-use consumption, often at fast-food                     Table 8: Estimated Total Abundance and
restaurants—may increase the likelihood that the               Weight of Trash on Orange County Beaches
material will be illegally discarded by individuals.           August to September, 1999
Also, because of their light weight, even properly
                                                                      Debris Type           Number         Weight
disposed containers in full trash receptacles may end                                                     (pounds)
up blowing away and becoming litter.
                                                                 1.    Pre-production      105,161,101     4,780
EPS and PS are not the only materials entering                         plastic pellets
storm drains as trash, but are highly visible and have           2.    Foamed               742,296        1,526
attracted unwanted attention. EPS and PS are some                      plastics
of the most commonly found items in storm drains                 3.    Hard plastics        642,020        7,910
in Los Angeles County. (Source: 42) Cities in this
                                                                 4.    Cigarette butts      139,447         344
area began focusing efforts to eliminate trash in
storm drains during the next 10 years as part of the             5.    Paper                 67,582         870
TMDL requirements. Each city in Los Angeles                      6.    Wood                  27,919        4,554
County recently agreed to jointly pay the consultant             7.    Metal                 23,500        3,015
costs to determine the best option to comply with
                                                                 8.    Glass                 22,195        1,944
the TMDL requirements. Initial indications are that
the cost of TMDL compliance is estimated at $168                 9.    Rubber                10,742         817
million or more.                                                 10. Pet and bird             9,388          17
                                                                     droppings
Trash from Long Beach and Signal Hill storm drains
                                                                 11. Cloth                    5,949        1,432
accumulates in a particular location during the
summer. An estimated one-fifth to one-third of this              12. Other                   10,363         401




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(Source: 45) The total litter collection costs for              3   The Legislature should consider making litter a
cleaning up 19 beaches along 31 miles in Los                        civil offense, to facilitate issuing litter tickets.
Angeles County was more than $4 million in 1994.                    Legislation could authorize financial incentives,
                                                                    perhaps from proceeds of violation tickets, to
The City of Long Beach and Los Angeles County                       individuals and/or organizations that identify
currently spend about $1 million a year on litter                   violators with appropriate proof (such as
collection in Long Beach Harbor, at the mouth of                    videotape or witness testimony) that results in
the Los Angeles River. (Source: 46) Using a figure                  tickets being issued.
of about 3,000 tons collected from 1998 to 1999, the
collection cost is more than $300 per ton. (Source:             4   The State should perform appropriate studies
47, p. 16) The Los Angeles County Department of                     and testing (including demonstration projects) to
Public Works also contracts out the cleaning of                     determine the effectiveness of compostable and
more than 751,000 catch basins for a total cost of                  biodegradable plastics as alternatives to
more than $1 million per year. (Source: 47, p. 35)                  nondegradable polystyrene.
While aggressively enforcing State and local litter             5   The State should continue to work with
laws is a good first step, this effort alone is unlikely            manufacturers and other stakeholders to
to achieve the Trash TMDL mandated zero-                            promote additional manufacturer responsibility
tolerance levels in the Los Angeles area.                           and product stewardship of polystyrene.

Recommendations
The CIWMB does not believe that a separate PS
initiative is warranted. However, the CIWMB does
recommend the following to assist in minimizing
the environmental impacts of illegally discarded PS
and exploration of source reduction alternatives:
1   The State should increase litter education efforts
    through more effective coordination between all
    State entities that spend money on anti-litter
    education and/or cleanup. This effort could be
    led by the CIWMB and include non-profits such
    as Keep California Beautiful, and other involved
    parties (local government, environmentalists,
    food service packaging producers, fast-food
    restaurants, and others). The effort should
    leverage resources and deliver a consistent
    message whenever possible.
2   The State should conduct a statewide litter study
    to identify the types and respective amounts
    (volume and weight) of litter and to quantify the
    environmental and societal impacts of litter.
    The study should also review the effectiveness
    of various approaches to reduce litter (human
    behavior, product stewardship, and best
    management practices) and other areas, as
    appropriate.




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